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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

CHARLES S. OAKES,

       Plaintiff,

v.                                                                      No. 22-cv-0224 SMV/GJF

HONEYWELL INTERNATIONAL, INC.;
NATIONAL TECHNOLOGY AND
ENGINEERING SOLUTIONS OF SANDIA, LLC;
CAROL ADKINS; and PAUL SHOEMAKER;

       Defendants.


                                  ORDER TO SHOW CAUSE

       THIS MATTER is before the Court on Plaintiff’s Unopposed Motion to Stay Briefing on

Defendants’ Motion to Dismiss [Doc. 15], filed on May 2, 2022. Plaintiff requested a stay of the

briefing on Defendants’ Motion to Dismiss pending ruling on a motion to remand that he indicated

he “[would] be filing contemporaneously” therewith. [Doc. 15] at 1. However, Plaintiff did not

file a motion to remand contemporaneously with his motion to stay. More than six weeks have

passed, and in fact, he still has not filed a motion to remand or any other motion.

       IT IS THEREFORE ORDERED that Plaintiff show cause no later than June 21, 2022,

why his Motion to Stay Briefing [Doc. 15] should not be denied and why briefing on the Motion

to Dismiss [Doc. 4] should not resume.

       IT IS SO ORDERED.

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                                                             STEPHAN M. VIDMAR
                                                             United States Magistrate Judge
